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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ AND CATHY MUNIZ,                          Civil Action No. 3:23-cv-00825-JFS

                        Plaintiffs,

         v.

SILVIA VITIELLO AND AIR BNB,

                        Defendants.


STIPULATION TO EXTEND DEFENDANT SILVIO VITIELLO’S TIME TO RESPOND
           TO PLAINTIFFS’ COMPLAINT AND [PROPOSED] ORDER


        Defendant Silvio Vitiello (incorrectly identified as “Silvia Vitiello”) and Plaintiffs David

Muniz and Cathy Muniz (collectively, the “Parties”), by and through their attorneys of record,

enter this Stipulation based on the following facts and circumstances:


        WHEREAS, Plaintiff filed this action in the Court of Common Pleas, Monroe County on

April 5, 2023.

        WHEREAS, Silvio Vitiello was served with the Complaint on May 15, 2023.


        WHEREAS, Defendant Airbnb filed its Notice of Removal in this Court on May 18,

2023.

        WHEREAS, Silvio Vitiello’s response to the Complaint is currently due on June 26,

2023.

        WHEREAS, the extension is warranted so that the Parties may confer in an attempt to

resolve and/or narrow the issues so as to promote an efficient resolution of this matter.

        THEREFORE, the Parties stipulate and agree that the time within which Silvio

Vitiello may answer, object to, or otherwise respond to Plaintiffs’ Complaint is extended up

through and including July 26, 2023.

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Dated: June 23, 2023                         By: /s/Kamela Devole
                                               Kamela Devole, Esq.
                                               PA Bar ID: 323614
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                                               (215) 709-2253
                                               kdevole@wshblaw.com
                                               Attorney for Defendant
                                               Silvio Vitiello




Dated: June 23, 2023                        By: /s/John E. Lavelle
                                                John E. Lavelle, Esq.
                                                PA Bar ID: 315154
                                                JOHN E. LAVELLE LAW FIRM P.C.
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                                                David Muniz and Cathy Muniz




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                                 CERTIFICATE OF SERVICE

          I hereby certify that, on June 23, 2023, I caused to be served a true and correct copy of

 the foregoing Stipulation to Extend Defendant Silvio Vitiello’s Time to Respond to Plaintiffs’

 Complaint via United States mail on:
                                        John E. Lavelle, Esq.
                                   John E. Lavelle Law Firm P.C.
                                         630 Willis Avenue
                                  Williston Park, New York 11596
                                       Phone: (877) 465-5997
                                        Fax: (877) 471-1798
                                John.Lavelle@LavellelnjuryFirm.com


                                                              /s/ Kamela Devole




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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  DAVID MUNIZ AND CATHY MUNIZ,                        Civil Action No. 3:23-cv-00825-JFS

                        Plaintiffs,

          v.

  SILVIA VITIELLO AND AIR BNB,

                        Defendants.


                                            ORDER

    Based on the Stipulation of the Parties, Defendant Silvio Vitiello’s deadline to respond to

 the Complaint shall be extended up through and including July 26, 2023.

          IT IS SO ORDERED.


                                             ________________________________________
                                             THE HONORABLE JOSEPH F. SAPORITO, JR.
                                             UNITED STATES MAGISTRATE JUDGE




 Dated: June ___, 2023




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